Case 2:15-ml-02668-PSG-SK Document 912 Filed 04/05/23 Page 1 of 4 Page ID #:29069



    1   Marc M. Seltzer (54534)                  Howard Langer (Pro Hac Vice)
        mseltzer@susmangodfrey.com               hlanger@langergrogan.com
    2   SUSMAN GODFREY L.L.P.                    LANGER GROGAN AND DIVER PC
        1900 Avenue of the Stars, Suite 1400     1717 Arch Street, Suite 4020
    3   Los Angeles, CA 90067-6029               Philadelphia, PA 19103
        Phone: (310) 789-3100                    Tel: (215) 320-5660
    4   Fax: (310) 789-3150                      Fax: (215) 320-5703
    5   Scott Martin (Pro Hac Vice)
        smartin@hausfeld.com
    6   HAUSFELD LLP
        33 Whitehall Street, 14th Floor
    7   New York, NY 10004
        Tel: (646) 357-1100
    8   Fax: (2121) 202-4322
    9
        [Additional Counsel on Signature Page]
   10
        Plaintiffs’ Co-Lead Counsel
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   12
                             UNITED STATES DISTRICT COURT
   13
                           CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                 Case No. 2:15-ml-02668-PSG (JEMx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION                     DISCOVERY MATTER
   17   THIS DOCUMENT RELATES TO                 NOTICE OF MOTION AND
        ALL ACTIONS                              MOTION REGARDING
   18                                            PLAINTIFFS’ MOTION TO
                                                 COMPEL DISCOVERY ON THE
   19                                            NEW SUNDAY TICKET
                                                 AGREEMENT
   20
                                                 Magistrate Judge: Hon. John E.
   21                                            McDermott
                                                 Date/Time: 5/2/2023, 10:00 a.m.
   22                                            Discovery Cutoff Date: 8/5/2022
                                                 Pretrial-Conference Date: 2/9/2024
   23                                            Trial Date: 2/22/2024
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Case 2:15-ml-02668-PSG-SK Document 912 Filed 04/05/23 Page 2 of 4 Page ID #:29070



    1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
    2         PLEASE TAKE NOTICE that on May 2, 2023 at 10:00 a.m., or as soon
    3   thereafter as this matter may be heard, Plaintiffs, on behalf of themselves and all
    4   others similarly situated, (“Plaintiffs”) will and hereby respectfully move for an
    5   order to Compel Production of Documents by Defendants National Football
    6   League, Inc. and NFL Enterprises LLC (the “NFL”) pursuant to Federal Rule of
    7   Civil Procedure 37.
    8         This Motion will be heard in the Courtroom of the Honorable John E.
    9   McDermott for the United States District Court in the Central District of California.
   10   The Court is located at the Roybal Federal Building and United States Courthouse,
   11   255 E. Temple Street, Los Angeles, California 90012, Courtroom 640, 6th Floor.
   12         This Motion is based upon this notice, the concurrently filed joint stipulation,
   13   the exhibits and declarations attached thereto, the pleadings and records on file in
   14   this action and such other matters as the Court deems necessary and proper.
   15         This Motion is made following conferences of counsel pursuant to Local
   16   Rule 37-1, which took place on November 14, 2022, January 3, 2023, January 25,
   17   2023, February 15, 2023, and March 3, 2023.
   18

   19   DATED: April 5, 2023                   By:     /s/ Marc M. Seltzer
                                                       Marc M. Seltzer
   20
                                                     Marc M. Seltzer (54534)
   21                                                mseltzer@susmangodfrey.com
                                                     SUSMAN GODFREY L.L.P.
   22                                                1900 Avenue of the Stars, Suite 1400
                                                     Los Angeles, CA 90067
   23                                                Tel: (310) 789-3100
                                                     Fax: (310) 789-3150
   24
                                                     William C. Carmody (Pro Hac Vice)
   25                                                bcarmody@susmangodfrey.com
                                                     Seth Ard (Pro Hac Vice)
   26                                                sard@susmangodfrey.com
                                                     Tyler Finn (Pro Hac Vice)
   27                                                tfinn@susmangodfrey.com
                                                     SUSMAN GODFREY L.L.P
   28                                                1301 Avenue of the Americas, 32nd Fl.
                                                     New York, NY 10019
                                                     Tel: (212) 336-8330
Case 2:15-ml-02668-PSG-SK Document 912 Filed 04/05/23 Page 3 of 4 Page ID #:29071


                                              Fax: (212) 336-8340
    1
                                              Ian M. Gore (Pro Hac Vice)
    2                                         igore@susmangodfrey.com
                                              SUSMAN GODFREY L.L.P.
    3                                         401 Union Street, Suite 3000
                                              Seattle, WA 98101
    4                                         Tel: (206) 505-3841
                                              Fax: (206) 516-3883
    5
                                              Armstead Lewis (Pro Hac Vice)
    6                                         alewis@susmangodfrey.com
                                              SUSMAN GODFREY L.L.P.
    7                                         1000 Louisiana, Suite 5100
                                              Houston, TX 77002
    8                                         Tel: (713) 651-9366
                                              Fax: (713) 654-6666
    9
                                              Scott Martin (Pro Hac Vice)
   10                                         smartin@hausfeld.com
                                              HAUSFELD LLP
   11                                         33 Whitehall Street, 14th Floor
                                              New York, NY 10004
   12                                         Tel: (646) 357-1100
                                              Fax: (212) 202-4322
   13
                                              Christopher L. Lebsock (184546)
   14                                         clebsock@hausfeld.com
                                              Samuel Maida (333835)
   15                                         smaida@hausfeld.com
                                              HAUSFELD LLP
   16                                         600 Montgomery St., Suite 3200
                                              San Francisco, CA 94111
   17                                         Tel: (415) 633-1908
                                              Fax: (415) 633-4980
   18
                                              Sathya S. Gosselin (269171)
   19                                         sgosselin@hausfeld.com
                                              Farhad Mirzadeh (Pro Hac Vice)
   20                                         fmirzadeh@hausfeld.com
                                              HAUSFELD LLP
   21                                         888 16th Street, N.W., Suite 300
                                              Washington, DC 20006
   22                                         Tel: (202) 540-7200
                                              Fax: (202) 540-7201
   23
                                              Howard Langer (Pro Hac Vice)
   24                                         hlanger@langergrogan.com
   25
                                              Edward Diver (Pro Hac Vice)
                                              ndiver@langergrogan.com
   26                                         Peter Leckman (235721)
                                              pleckman@langergrogan.com
   27                                         Kevin Trainer (Pro Hac Vice)
                                              ktrainer@langergrogan.com
   28                                         LANGER GROGAN AND DIVER PC
                                              1717 Arch Street, Suite 4020
                                              Philadelphia, PA 19103
                                              Tel: (215) 320-5660
Case 2:15-ml-02668-PSG-SK Document 912 Filed 04/05/23 Page 4 of 4 Page ID #:29072


                                              Fax: (215) 320-5703
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    2                                         Plaintiffs’ Co-Lead Counsel

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